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UNITED STATES I)ISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAl\/IPA DIVISION

SARAH LACY,

 

 

Plaintiff, CASE No. 31!‘5° ~/ 5"( %T\ q CPT
vs. JURY TRIAL DEMATi§ii_)Ei_) __
CoMENITY LLC, d/b/a COMENITY BANK, z .\

Defendant. :

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CoMPLAINT

Plaintiff, SARAH LACY (“Plaiiitiff’), allege the following Coinplaint against §j:efendant,

COMENITY LLC, d/b/a COl\/IENITY B/-\NK (“Defendant”):

l. This is an action for damages for violations of the Telephone Consuiner Protection

Act, 47 U.S.C. §227 el Seq. (“"l"CPA”) and the Florida Consuiner Collection Practices Act, Fla. Stat.

§§ 559.55 er Seq_ (“FCCPA”>.

PARTIES
2. Plaintiff is a “consurner” as that tenn is defined by Fla. Stat. § 559.55(2).
3. Defendant is a foreign company that conducts business in Florida. Defendant has a

registered agent located in the state of Florida, and the actions forming the basis of this Coinplaint
took place at Plaintift` s home location in this district.
4. Defendant is a “person” subject to regulation under Fla. Stat. § 559,72.

5. Plaintiff is the subscriber, regular user and carrier of the cellular telephone number,

(727-XX5~0519), and Was the called party and recipient oi`Defendant’s autodialer calls.

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JURISDICTIION ANID VENUE

6. This Couit has federal question jurisdiction pursuant to 28 U.S.C. § 1331 for the
TCPA claiin, and should exercise supplemental jurisdiction over the state FCCPA claims pursuant
to 28 U.S.C. § 1367(a), as such claims are so closely related so as to form part of the same case or
controversy

7. Venue is proper in this District pursuant to 28 U.S.C. § l391(b)(2), in that the acts
giving rise to this action occurred in this District.

FACTUA]L AL]L]EGATIONS

8. Plaintiff allegedly incurred a consumer debt With Defendant (hereinafter “Subject
Debt”).

9. The Subject Debt is considered a “consumer debt” as defined by the FCCPA, as it
constitutes an obligation for the payment of money arising out of a transaction in Which the money
and/or services which Was the subject of the transaction Was primarily for Plaintiffs’ personal,
family, or household purposes

lO. ln or around October, 2017, Plaintiff became delinquent on the Subject Debt.

11. In or around November, 2017, as part of its efforts to collect the Subject Debt,
Defendant began a campaign of calling Plaintist cellular phone numerous times.

12. Upon information and belief, on November l9, 2017, at approximately 12:50 pm,
Defendant placed a called to Plaintiff’s cell phone. Plaintiff informed Defendant that she could not
make payment due to the effect of the hurricane. She then requested Defendant to stop calling her

cell phone. Plaintiff informed Defendant that she Would call them When she Was able to make

payment

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13. Despite Plaintiff s requests, Defendant continued to autodial her cell phone in an
attempt to collect,the subject debt approximately 40 more times.

14. ` Each of Defendant’s calls placed to Plaintiffs cell phone in which she answered had
a time-gap before one of Defendant’s representatives would respond This suggests Defendant used
an autodialer system to place calls to Plaintiff s cell phone.

15. Further, Defendant has a corporate policy to use an Automatic Telephone Dialing
System (as defined by the TCPA) and has numerous other federal lawsuits pending against them
alleging similar violations and facts as stated in this complaint

16. Despite Plaintiff informing Defendant for her reason of non-payment towards the
Subject Debt and taking all reasonable measures at negotiating a resolution to the Subject Debt, the
Defendant continued its efforts to try and collect the Subject Debt from Plaintiff As a result,
Defendant’s subsequent attempts to persuade Plaintiff were made with the intent to simply exhaust
Plaintiffs will and harass Plaintiff.

17. The above~referenced conduct was a willful attempt by Defendant to engage in
conduct which was reasonably expected to abuse or harass Plaintiff.

18. Defendant’s conduct has caused Plaintiff to suffer injuries in fact through significant
anxiety, emotional distress, frustration, and anger.

l9. Defendant’s autodialer calls to Plaintiff s cell phone caused her headaches and loss
of time from work due to answering these calls.

20. By effectuating these unlawful phone calls, Defendant has caused Plaintiff the very

harm that Congress sought to prevent_namely, a "nuisance and invasion of privacy."

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21. Defendant’s aggravating and annoying phone calls trespassed upon and interfered
with Plaintist rights and interests in her cellular telephone and cellular telephone line, by intruding
upon Plaintiff’ s seclusion.

22. Defendant’s phone calls harmed Plaintiff by wasting her time.

23. Moreover, "wireless customers [like Plaintift] are charged for incoming calls
whether they pay in advance or after the minutes are used." ln re: Rules lmplementing the TCPA of
1991, 23 FCC Rcd 559, 562 (2007). Defendant’s phone calls harmed Plaintiff by depleting the
battery life on her cellular telephone, and by using minutes allocated to Plaintiff by her cellular
telephone service provider.

COUNT ll

VIOLATIONS OF THIE TEL]EPHON]E COMSUMER PROTECTION AC'll`
47 U.S.C. § 227 et seq.

24. Plaintiff incorporates by reference paragraphs l through 23 of this Complaint as
though fully stated herein.

25. lt is a violation of the TCPA to make “any call (other than a call made for
emergency purposes or made with the prior express consent of the called party) using any automatic
telephone dialing system or an artificial or prerecorded voice to any telephone number assigned
to a cellular telephone service ...” 47 U.S.C. § 227(b)(l)(A)(iii).

26. The Defendant placed non~emergency telephone calls to Plaintiff’s cellular
telephone using an automatic telephone dialing system or pre-recorded or artificial voice, without
Plaintiff s consent in violation of 47 U.S.C. § 227(b)(l)(A)(iii).

27. Plaintiff revoked any prior express consent Defendant had to call Plaintiff’s cellular

telephone number. As such, the Defendant’s calls were willful or knowing. See 47 U.S.C. §

siz(n(i).

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28. As a result of the Defendant’s conduct and pursuant to Section 227(b)(3) of the
TCPA, Plaintiff was harmed and is entitled to a minimum of $500 in damages for each violation

29. ` Because the Defendant knew that Plaintiff had revoked prior express consent to
receive their autodialed and prerecorded voice calls to her cellular telephone ~ and /or willfully used
an automatic telephone dialing system and/or prerecorded voice message to call Plaintiffs cellular
telephone without prior express consent ~ Plaintiff requests the Court to treble the amount of
statutory damages available to Plaintiff pursuant to 47 U.S.C. § 227(b)(3).

WHEREFORE, Plaintiff demands judgment against the Defendant for damages, costs, and
such further relief as this Court deems just and proper.
COUNT l[l

VIOLATIONS OlF` THE FLORIDA CONSUMER COLLECTIONS PRACTIC]ES ACT
FLORll]DA STA'll`lU'll`ES § 559.55 et seq.

30. Plaintiff incorporates by reference paragraphs l through 23 of this Complaint as
though fully stated herein.
31. The foregoing acts and omissions of Defendant constitute a violation of the FCCPA:
a. Fla. Stat. 559.72(7): Willtully communicate with the debtor or any
member of her or his family with such frequency as can reasonably be
expected to harass the debtor or her or his family, or willfully engage in
other conduct which can reasonably be expected to abuse or harass the
debtor or any member of her or his family.
32. As a result of Defendant’s violation of the FCCPA, pursuant to Fla. Stat. § 559.77
Plaintiff is entitled to damages in an amount up to $l,O()O.()() for violation of the FCCPA, actual
damages, plus reasonable attorneys’ fees and costs.

WHEREFORE, Plaintiff demands judgment for actual and statutory damages, attorneys’

fees, costs, and such further relief as this Court deems just and proper.

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DEMAND FOR JURY 'I`RlIAL

Plaintiff demands a trial by jury on all issues so triable.

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